       Dated: 7/2/2021



                          IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE AT NASHVILLE

IN RE:                                                 )
THOMAS WILLIAM PRIGNANO                               )
TOMME NOELLE PRIGNANO                                 )       CASE NO: 20-01115-RSM-13
238 PARKER STREET                                     )       CHAPTER 13
MANCHESTER, CT 06040                                  )       JUDGE MASHBURN
SSN: XXX-XX-9751/9207                                )
Debtors.                                             )

                                           ORDER TO INCUR DEBT

         Upon consideration of the Motion for Authority to Incur Debt to obtain student loans and the twenty-one
(21) days having passed within which to file an objection; it is therefore

         ORDERED, that Debtor 2 shall be able obtain student loans in an amount not to exceed $20,000.00 for
the purpose of enrolling in the TESOL Education Master’s Program at the University of Saint Joseph, it is further

        ORDERED, the Debtors shall submit to a 11 U.S.C. §521(f) requirement for the remainder of their
Chapter 13 bankruptcy case, it is further

          ORDERED, that the Debtors shall submit a dual-entry budget upon completion of the Master’s program in
order to show that Debtors can afford both the repayment plan and their Chapter 13 bankruptcy plan payment, it is
further

THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS INDICATED AT THE TOP OF
THIS PAGE.



APPROVED FOR ENTRY:

                                                     Signature:        /s/ Ryan Lloyd
                                                                       RYAN LLOYD, #034323
                                                                       Clark & Washington, PC
                                                                       Attorneys for Debtor(s)
                                                                       237 French Landing Drive
                                                                       Nashville, TN 37228
                                                                       615-251-9782; Fax: 615-251-8919
                                                                       Email: cwnashville@cw13.com




                                                                                  This Order has been electronically
                                                                                  signed. The Judge's signature and
                                                                                  Court's seal appear at the top of the
                                                                                  first page.
                                                                                  United States Bankruptcy Court.

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